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 8                                 UNITED STATES DISTRICT COURT
                                  NORTHERN DISTRICT OF CALIFORNIA
 9
                                        OAKLAND DIVISION
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11   SIERRA CLUB and SOUTHERN BORDER                       Case No. 4:19-cv-00892-HSG
     COMMUNITIES COALITION,
12                                                         ORDER GRANTING CONSENT MOTION
                              Plaintiffs,                  OF FORMER U.S. GOVERNMENT
13                                                         OFFICIALS FOR LEAVE TO FILE
                      vs.                                  MEMORANDUM AS AMICI CURIAE IN
14                                                         SUPPORT OF PLAINTIFFS’ MOTION
     DONALD J. TRUMP, President of the                     FOR PARTIAL SUMMARY JUDGMENT
15   United States, in his official capacity, et al.,
16                           Defendants.
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19           Upon consideration of the motion of Former U.S. Government Officials for leave to file as

20   amici curiae in support of plaintiffs’ motion for partial summary judgment, it is hereby

21   ORDERED that the motion is GRANTED. Counsel is directed to file the Former U.S.

22   Government Officials’ amicus curiae brief on the docket in this matter.

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24   Dated: 10/21/2019                                  _______________________________________
                                                        Judge Haywood S. Gilliam, Jr.
25                                                      UNITED STATES DISTRICT COURT JUDGE
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           ORDER GRANTING CONSENT MOTION OF FORMER U.S. GOV’T OFFICIALS
                      FOR LEAVE TO FILE BRIEF AS AMICI CURIAE
                             CASE NO. 4:19-cv-00892-HSG
